Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 1 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 2 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 3 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 4 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 5 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 6 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 7 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 8 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 9 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 10 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 11 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 12 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 13 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 14 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 15 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 16 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 17 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 18 of 19
Case 1:23-cr-00125-MHC-RGV   Document 793   Filed 05/02/25   Page 19 of 19
